   Case 2:10-md-02179-CJB-DPC Document 4996-1 Filed 12/23/11 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF LOUISIANA


In Re: Oil Spill by the Oil Rig “Deepwater    *   MDL NO. 2179
   Horizon” in the Gulf of Mexico, on April   *
   20, 2010                                   *   SECTION J
                                              *
                                              *
This document relates to:                     *   Honorable CARL J. BARBIER
                                              *
  All Cases                                   *   Magistrate Judge SHUSHAN
                                              *

                                          ORDER

       Considering BP’s Ex Parte Motion for Leave to File Under Seal an unredacted version of

its reply memorandum in support of its motion to compel against Halliburton (Record Doc. No.

4824) and Exhibits C and G to that memorandum;

       IT IS ORDERED that the Motion is GRANTED and that an unredacted version of its

Reply Memorandum and Exhibits C and G to the reply memorandum in support of its motion to

compel will hereby be filed into the record of this matter UNDER SEAL.

       New Orleans, Louisiana, this ___ day of December, 2011.




                                          _______________________________________
                                          UNITED STATES MAGISTRATE JUDGE
